                                United States District Court
                                Middle District of Tennessee

                                        Office of the Clerk
                                   800 United States Courthouse
                                          801 Broadway
                                   Nashville, Tennessee 37203
                                         (615)736-7396




Clerk
U.S. District Court
Clifford Davis and Odell Horton
 Federal Building
167 North Main Street, Room 242
Memphis, TN 38103

Re:     ACCEPTANCE OF JURISDICTION
        USA v. William Harness
        Western District of Tennessee Criminal Case No. 2:10-20194-01-Ma
        Assigned Middle District of Tennessee Criminal Case No. 3:16-00247

Dear Clerk:

       Enclosed please find one original Transfer of Jurisdiction, Probation Form 22, which has
been approved by Chief Judge Kevin H. Sharp.

        All documents that we need have been retrieved from your website. It is not necessary
for your Court to send any further documentation.



                                            Sincerely,



                                            Joyce A. Brooks
                                            Criminal Docketing Clerk

Enclosure




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